Case 23-12825-MBK         Doc 624    Filed 05/28/23 Entered 05/28/23 10:50:08        Desc Main
                                    Document     Page 1 of 5




  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)   BROWN RUDNICK LLP
                                                    David J. Molton, Esq.
  GENOVA BURNS LLC                                  Robert J. Stark, Esq.
  Daniel M. Stolz, Esq.                             Michael S. Winograd, Esq.
  Donald W. Clarke, Esq.                            Eric R. Goodman, Esq.
  dstolz@genovaburns.com                            dmolton@brownrudnick.com
  dclarke@genovaburns.com                           rstark@brownrudnick.com
  110 Allen Road, Suite 304                         mwinograd@brownrudnick.com
  Basking Ridge, NJ 07920                           egoodman@brownrudnick.com
  Tel: (973) 467-2700                               Seven Times Square
  Fax: (973) 467-8126                               New York, NY 10036
  Proposed Local Counsel for the Official           Tel: (212) 209-4800
  Committee of Talc Claimants                       Fax: (212) 209-4801
                                                    and
                                                    Jeffrey L. Jonas, Esq.
                                                    Sunni P. Beville, Esq.
                                                    jjonas@brownrudnick.com
                                                    sbeville@brownrudnick.com
                                                    One Financial Center
                                                    Boston, MA 02111
                                                    Tel: (617) 856-8200
                                                    Fax: (617) 856-8201
                                                    Proposed Co-Counsel for the Official
                                                    Committee of Talc Claimants
  MASSEY & GAIL LLP                                 OTTERBOURG P.C.
  Jonathan S. Massey, Esq.                          Melanie L. Cyganowski, Esq.
  jmassey@masseygail.com                            Richard G. Haddad, Esq.
  1000 Maine Ave. SW, Suite 450                     Adam C. Silverstein, Esq.
  Washington, DC 20024                              Jennifer S. Feeney, Esq.
  Tel: (202) 652-4511                               David A. Castleman, Esq.
  Fax: (312) 379-0467                               mcyganowski@otterbourg.com
                                                    rhaddad@otterbourg.com
  Proposed Special Counsel for the Official         asilverstein@otterbourg.com
  Committee of Talc Claimants                       jfeeney@otterbourg.com
                                                    dcastleman@otterbourg.com
                                                    230 Park Avenue
                                                    New York, NY 10169
                                                    Tel: (212) 661-9100
                                                    Fax: (212) 682-6104
                                                    Proposed Co-Counsel for the Official
                                                    Committee of Talc Claimants
Case 23-12825-MBK              Doc 624      Filed 05/28/23 Entered 05/28/23 10:50:08                      Desc Main
                                           Document     Page 2 of 5




                                                                  Chapter 11

     In re:                                                       Case No.: 23-12825 (MBK)

     LTL MANAGEMENT LLC, 1                                        Honorable Michael B. Kaplan

                                       Debtor.




                   OFFICIAL COMMITTEE OF TALC CLAIMANTS’ OBJECTION TO
                    J&J PARTIES’ MOTION FOR ENTRY OF PROTECTIVE ORDER

              The Official Committee of Talc Claimants (“TCC”) appointed in the above-captioned

 chapter 11 case, by and through its undersigned counsel, hereby submits this objection

 (“Objection”) to the J&J Parties’ Motion for Entry of a Protective Order (the “Motion”) [Docket

 No. 597]. In support of this Objection, the TCC respectfully states as follows:

              1.      Despite being aware of this issue for some time now, on May 25, 2023, the Debtor

 first moved for a protective order seeking to bar discovery concerning the restructuring whereby

 New JJCI changed its name to Holdco in December 2022 and then transferred Holdco’s

 “Consumer Business” — a cash generating asset that accounted for approximately half of Holdco’s

 approximately $60 billion of value — in January 2023. That transfer apparently was in exchange

 for no consideration and left Holdco with only approximately $30 billion remaining in assets, all

 of which were in the form of minority foreign equity interests.

              2.      Of course, just two hours after this Court dismissed LTL 1.0, Holdco was named

 the sole obligor under the substitute 2023 Funding Agreement, which took the additional step of

 eliminating J&J’s “ATM” backstop. And now, predictably, LTL argues that while $30 billion is


 1
       The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
       Street, New Brunswick, New Jersey 08933.



                                                            2
Case 23-12825-MBK         Doc 624     Filed 05/28/23 Entered 05/28/23 10:50:08               Desc Main
                                     Document     Page 3 of 5



 still more than enough to enable LTL to meet its obligations under the 2023 Funding Agreement,

 for Holdco to meet its funding obligations, Holdco (not the Debtor) may need to sell foreign equity

 interests (which purportedly may have to be sold at a discount), borrow against its equity assets

 (which purportedly may be “uneconomic”), or access the billions in dividends (which are

 purportedly subject to “risks”). MTD Obj. at 37-39.

        3.      In other words, while the 2021 Funding Agreement boasted a $60 billion cap

 backstopped by both New JJCI and J&J, the 2023 Funding Agreement provides only a $30 billion

 cap, payable only by Holdco, whose cash generating asset was just given away and, LTL asserts,

 may potentially have to take steps to generate cash to meet its obligations to the Debtor. Even

 assuming, arguendo, that were true (and on its face that still would not cause financial distress to

 the Debtor), that precise circumstance was orchestrated by J&J through the transfer of the

 Consumer Business, which therefore is directly relevant to good faith.

        4.      Thus, in discussing good faith in its Preliminary Injunction Motion, the Court itself

 discussed this Consumer Business transfer. It recited the facts. Dkt. 94 at 6 (“While the appeals

 were pending, New JJCI-which had continued operations-changed its name to Johnson & Johnson

 Holdco (NA) Inc. (‘Holdco’) in December 2022. Kim Decl. 26, ECF No. 4 in Case No. 23-12825.

 Holdco is the direct parent of the Debtor. Id. at 27. In early January 2023, Holdco transferred its

 Consumer Business assets to its parent entity. Id. at 26.”). And it went on, under the heading of

 “Good Faith” to state that “since the first filing, the Debtor’s funding resources have been reduced

 from approximately $61 billion to potentially upwards of $30 billion. The Court acknowledges

 that the reduction certainly appears to be manufactured by the Debtor, Holdco, and J&J in direct

 response to the Third Circuit’s ruling” (Dkt. 94 at 18). That reduction is directly due to the transfer

 of the Consumer Business.




                                                   3
Case 23-12825-MBK         Doc 624    Filed 05/28/23 Entered 05/28/23 10:50:08              Desc Main
                                    Document     Page 4 of 5



        5.      The Debtor likewise has acknowledged its relevance. Time and time again, it has

 told this Court and the Third Circuit that its intent has been to provide creditors in “LTL’s

 bankruptcy case” with access “up to the full value of New JJCI, ensuring that claimants were not

 separated from any value that would have been available absent the [Texas Two Step]

 restructuring. In re LTL Mgmt. LLC, Case No. 22-2003/22-2004 (3d Cir.), LTL Opp. (App. Dkt

 104) at 3; accord, e.g., id. at 28-29, LTL 1.0 MTD Obj. (Dkt. 956) at 12 (“the Debtor’s ability to

 pay claims is supported by a Funding Agreement with both New JJCI and J&J, as joint obligors,

 for the full amount of the value of New JJCI”), 30 (“J&J is also a Payor under the Funding

 Agreement—up to the full JJCI Value—providing protection against any theoretical future

 diminishment of New JJCI’s ability to pay Talc Claims”). That full value was, as LTL told the

 Courts, an “estimated $61 billion.” App. Dkt. 104, at 3; accord 9/19/22 App.. Arg. Tr. 68:15-19

 (“because of the funding agreement . . . because you get all of the good without the bad, you get

 the full value of the company not subject to any creditors or anything like that. It's free and clear

 up to $61 billion, and then you get a backstop from J&J.). That has now changed substantially,

 apparently by design, due to the transfer of the Consumer Business. The TCC is entitled to learn

 (or confirm) how and why, including at this week’s deposition of Adam Lissman of J&J.

        6.      The Debtor’s and J&J’s efforts to manufacture LTL financial distress fail on their

 face. But the TCC nonetheless is entitled to discovery on whether the renaming and transfer of

 Holdco’s assets just weeks before the Third Circuit decision and less than three months before the

 dismissal of LTL 1.0 was intentionally orchestrated as part of that scheme to deprive creditors of

 access to $30 billion in value. The circumstances certainly suggest it was.

                                          CONCLUSION

        For the foregoing reasons, the Motion should be denied.




                                                  4
Case 23-12825-MBK      Doc 624    Filed 05/28/23 Entered 05/28/23 10:50:08        Desc Main
                                 Document     Page 5 of 5



                                                Respectfully submitted,

                                                   GENOVA BURNS LLC
 Dated: May 28, 2023

                                                   By: /s/ Daniel M. Stolz
                                                      Daniel M. Stolz, Esq.
                                                      Donald W. Clarke, Esq.
                                                      110 Allen Road, Suite 304
                                                      Basking Ridge, NJ 07920
                                                      Tel: 973-467-2700
                                                      Fax: 973-467-8126
                                                      Email: dstolz@genovaburns.com
                                                                dclarke@genovaburns.com

                                                       Proposed Local Counsel for the
                                                       Official Committee of Talc Claimants




                                            5
